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 9
                                   UNITED STATES DISTRICT COURT
10
                                  CENTRAL DISTRICT OF CALIFORNIA
11
12
     UNICOLORS, INC., a California Corporation, Case Number: 2:16-cv-02322
13
                    Plaintiff,
14                                                    PLAINTIFF’S COMPLAINT FOR:
                   vs.                                1. COPYRIGHT INFRINGEMENT
15                                                    2. VICARIOUS COPYRIGHT
     H & M HENNES & MAURITZ L.P., a New                  INFRINGEMENT
16   York Limited Partnership; and DOES 1-20,         3. CONTRIBUTORY COPYRIGHT
     inclusive,                                          INFRINGEMENT
17
                    Defendants.
18                                                    Jury Trial Demanded
19
20   Plaintiff UNICOLORS, Inc. (“Plaintiff” or “UNICOLORS”) by and through its undersigned
21   attorneys, hereby prays to this honorable Court for relief and remedy based on the following:
22
23                                          INTRODUCTION
24   Plaintiff is a California-based company engaged in the apparel industry as a textile converter of
25   imported and domestic fabrications. Plaintiff creates, or purchases and obtains, exclusive rights
26   to unique two-dimensional graphic artworks for use on textiles and garments, and those textiles
27   and garments are transacted primarily in the fashion industry. Plaintiff owns these designs in
28   exclusivity and makes sales of products bearing these designs for profit. Plaintiff’s business is


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 1   predicated on its ownership of these designs and it spends a considerable amount of time and
 2   resources creating and obtaining top-quality, marketable and aesthetically-appealing designs.
 3   Customers of Plaintiff, including possibly DOE defendants named herein, take design samples
 4   with the understanding and agreement that they will only utilize Plaintiff to reproduce said
 5   designs should they wish to do so, and will not seek to make minor changes to Plaintiff’s
 6   proprietary work to reproduce the same elsewhere, yet use those designs in furtherance of their
 7   business in violation of both their contractual agreement with Plaintiff and Plaintiff’s copyrights.
 8   No other party is authorized to make sales of product bearing Plaintiff’s proprietary designs
 9   without express permission from Plaintiff. This action is brought to recover damages for direct,
10   vicarious and contributory copyright infringement arising out of the misappropriation of
11   Plaintiff’s exclusive designs by the Defendants, and each of them.
12
13                                   JURISDICTION AND VENUE
14   1. This action arises under the Copyright Act of 1976, Title 17 U.S.C. § 101 et seq.
15   2. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331, 1338(a) and (b).
16   3. Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and 1400(a) in that this is
17      the judicial district in which a substantial part of the acts and omissions giving rise to the
18      claims occurred.
19
20                                               PARTIES
21   4. UNICOLORS, Inc. (“Plaintiff”) is a corporation organized and existing under the laws of the
22      State of California with its principal place of business in the County of Los Angeles, at 3251
23      East 26th Street, Vernon, CA 90058.
24   5. Plaintiff is informed and believes and thereon alleges that Defendant H & M HENNES &
25      MAURITZ L.P. (“H & M”), is, and at all times herein mentioned was, a limited partnership
26      organized and existing under the laws of New York and doing business in California, with its
27      principal place of business at 110 Fifth Avenue, 11th Floor, New York, NY 10011.
28



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 1   6. Defendant H&M, and Defendants DOES 1-20, inclusive, may be collectively referred to as
 2      “Defendants.”
 3   7. Plaintiff is informed and believes and thereon alleges that some of Defendants DOES 1
 4      through 8, inclusive, are manufacturers and/or vendors of garments to Defendant, which
 5      DOE Defendants have manufactured and/or supplied, and are manufacturing and/or
 6      supplying, garments comprised of fabric printed with Plaintiff’s copyrighted design(s) (as
 7      hereinafter defined) without Plaintiff’s knowledge or consent, or have contributed to said
 8      infringement. The true names, whether corporate, individual or otherwise, and capacities of
 9      defendants sued herein as DOES 1 through 8 are presently unknown to Plaintiff at this time,
10      and therefore, Plaintiff sues said defendants by such fictitious names. Plaintiff will seek leave
11      to amend this complaint to allege their true names and capacities when the same have been
12      ascertained. Plaintiff is informed and believes, and based thereon alleges, that each of
13      defendants designated as a DOE is responsible in some manner for the events alleged herein
14      and the damages caused thereby.
15   8. Defendants DOES 9 through 20, inclusive, are other parties not yet identified who have
16      infringed Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s
17      copyrights, or have engaged in one or more of the wrongful practices alleged herein. The true
18      names, whether corporate, individual or otherwise, and capacities of defendants sued herein
19      as DOES 9 through 20 are presently unknown to Plaintiff at this time, and therefore, Plaintiff
20      sues said defendants by such fictitious names. Plaintiff will seek leave to amend this
21      complaint to allege their true names and capacities when the same have been ascertained.
22   9. Plaintiff is informed and believes and thereupon alleges that at all times relevant hereto each
23      of Defendants acted in concert with each other, was the agent, affiliate, officer, director,
24      manager, principal, alter-ego, and/or employee of the remaining defendants and was at all
25      times acting within the scope of such agency, affiliation, alter-ego relationship and/or
26      employment; and actively participated in or subsequently ratified and adopted, or both, each
27      and all of the acts or conduct alleged, with full knowledge of all the facts and circumstances,
28      including without limitation to full knowledge of each and every wrongful conduct and



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 1      Plaintiff’s damages caused therefrom.
 2
 3                                  CLAIMS RELATED TO DESIGN
 4   10. Plaintiff is the owner and author of a two-dimensional artwork called EH101, under title
 5      Floral (“Subject Design”). (Exhibit A).
 6   11. Plaintiff applied for a copyright from the United States Copyright Office for the Subject
 7      Design and was granted Registration No. VA 1-770-400 effective on February 14, 2011.
 8      (Exhibit B).
 9   12. Plaintiff formatted the Subject Design for use on textiles, sampled the Subject Design, and
10      negotiated sales of fabric bearing the Subject Design.
11   13. Plaintiff is informed and believes and thereon alleges that, without Plaintiff’s authorization,
12      Defendant H & M purchased, sold, marketed, advertised, manufactured, caused to be
13      manufactured, imported and/or distributed fabric and/or garments comprised of fabric
14      featuring a design which is identical, or substantially similar to, the Subject Design. True
15      and correct copies of such garments have been attached hereto as Exhibit C. Said garments
16      include but are not limited to garments sold by H & M bearing the label “H &M.”
17   14. At various times Defendant H & M owned and controlled offline and/or online retail stores,
18      and Plaintiff’s investigation revealed that garments comprised of fabric bearing the Subject
19      Design were being offered for sale at such offline and/or retail stores, garments which were
20      manufactured and/or imported under the direction of the Defendants, and each of them.
21   15. None of the aforementioned transactions were authorized by Plaintiff, and all were in
22      violation of Plaintiff’s intellectual property rights.
23
24                                     FIRST CLAIM FOR RELIEF
25                        (For Copyright Infringement – Against All Defendants)
26   16. Plaintiff repeats, re-alleges and incorporates herein by reference as though fully set forth the
27      allegations contained in Paragraphs 1 through 15, inclusive, of this Complaint.
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 1   17. Plaintiff is informed and believes and thereon alleges that Defendants, and each of them,
 2         accessed the Subject Design through, without limitation, the following: (a) access to
 3         Plaintiff’s showroom and/or design library; (b) access to authorized or unauthorized
 4         reproductions of the Subject Design in the possession of other vendors and/or DOE
 5         Defendants, including but not limited to international and overseas converters and printing
 6         mills; (c) access to Plaintiff’s strike-offs, swatches, paper CADs and samples; and (d) access
 7         to garments in the marketplace manufactured with lawfully printed fabric bearing the Subject
 8         Design.
 9   18. Plaintiff is informed and believes and thereon alleges that Defendants, and each of them,
10         infringed Plaintiff’s copyright by importing, creating, making and/or developing directly
11         infringing and/or derivative works from the Subject Design and by importing, producing,
12         distributing and/or selling infringing garments through a nationwide network of retail stores,
13         catalogues, and online websites.
14   19. Due to Defendants’ acts of infringement, Plaintiff has suffered substantial damages to its
15         business in an amount to be established at trial.
16   20. Due to Defendants’ acts of infringement, Plaintiff has suffered general and special damages
17         to its business in an amount to be established at trial.
18   21. Due to Defendants’ acts of copyright infringement as alleged herein, Defendants, and each of
19         them, have obtained direct and indirect profits they would not otherwise have realized but for
20         their infringement of the Subject Design. As such, Plaintiff is entitled to disgorgement of
21         Defendants’ profits directly and indirectly attributable to Defendants’ infringement of the
22         Subject Design in an amount to be established at trial.
23   22. Plaintiff is informed and believes and thereon alleges that Defendants, and each of them,
24         have committed acts of infringement alleged herein with actual or constructive knowledge of
25         Plaintiff’s rights such that Plaintiff is entitled to a finding of willful infringement.
26   ///
27   ///
28   ///



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 1                                      SECOND CLAIM FOR RELIEF
 2                     (For Vicarious Copyright Infringement – Against All Defendants)
 3   23. Plaintiff repeats, re-alleges and incorporates herein by reference as though fully set forth the
 4         allegations contained in Paragraphs 1 through 22 inclusive, of this Complaint.
 5   24. Plaintiff is informed and believes and thereon alleges that Defendants, and each of them, are
 6         vicariously liable for the infringement alleged herein because they had the right and ability to
 7         supervise the infringing conduct and because they had a direct financial interest in the
 8         infringing product.
 9   25. Plaintiff is informed and believes and thereon alleges that the Defendants had direct financial
10         interest in the infringer’s activity by profiting from featuring the desirable Subject Design on
11         the infringing garments, while declining to exercise their right and/or obligation to stop or
12         limit the infringement by requesting, changing, or suggesting a different design or declining
13         to buy the garment featuring the Subject Design.
14   26. By reason of the Defendants’, and each of their, acts of vicarious infringement as alleged
15         above, Plaintiff has suffered and will continue to suffer substantial damages to its business in
16         an amount to established at trial, as well as additional general and special damages in an
17         amount to be established at trial.
18   27. Due to Defendants’ acts of vicarious copyright infringement as alleged herein, Defendants,
19         and each of them, have obtained direct and indirect profits they would have not otherwise
20         realized bur for their infringement of the Subject Design. As such, Plaintiff is entitled to
21         disgorgement of Defendants’ profits directly and indirectly attributable to Defendants’
22         infringement of the Subject Design, an amount to be established at trial.
23   28. Plaintiff is informed and believes and thereon alleges that Defendants, and each of them,
24         have committed acts of infringement alleged herein with actual or constructive knowledge of
25         Plaintiff’s rights such that Plaintiff is entitled to a finding of willful infringement.
26   ///
27   ///
28   ///



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 1                                       THIRD CLAIM FOR RELIF
 2                   (For Contributory Copyright Infringement – Against All Defendants)
 3   29. Plaintiff repeats, re-alleges and incorporates herein by reference as though fully set forth the
 4      allegations contained in Paragraphs 1 through 28 inclusive, of this Complaint.
 5   30. Plaintiff is informed and believes and thereon alleges that Defendants, and each of them,
 6      knowingly induced, participated in, aided and abetted in and resultantly profited from the
 7      illegal reproduction, importation, purchase, distribution and/or sales of product featuring the
 8      Subject Design as alleged herein above.
 9   31. By reason of the Defendants’, and each of their, acts of contributory copyright infringement
10      as alleged above, Plaintiff has suffered and will continue to suffer substantial damages to its
11      business in an amount to established at trial, as well as additional general and special
12      damages in an amount to be established at trial.
13   32. Due to Defendants’ acts of contributory copyright infringement as alleged herein, Defendants,
14      and each of them, have obtained direct and indirect profits they would have not otherwise
15      realized bur for their infringement of the Subject Design. As such, Plaintiff is entitled to
16      disgorgement of Defendants’ profits directly and indirectly attributable to Defendants’
17      infringement of the Subject Design, in an amount to be established at trial.
18   33. Plaintiff is informed and believes and thereon alleges that Defendants, and each of them,
19      have committed acts of infringement alleged herein with actual or constructive knowledge of
20      Plaintiff’s rights such that Plaintiff is entitled to a finding of willful infringement.
21
22                                        PRAYER FOR RELIEF
23   WHEREFORE, Plaintiff prays for judgment against all Defendants as follows:
24                                         Against All Defendants
25   With respect to Each Claim for Relief:
26   1. That Defendants, their agents and servants be enjoined from infringing Plaintiff’s copyrights
27      in any manner;
28   2. That Plaintiff be awarded all profits of Defendants plus all losses of Plaintiff, the exact sum



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 1      to be proven at time of trial, or, if elected before final judgment, statutory damages as
 2      available under the Copyright Act, 17 U.S.C. § 101 et seq.;
 3   3. That Plaintiff be awarded its attorneys’ fees as available under the Copyright Act, 17 U.S.C.
 4      § 101 et seq.;
 5   4. That Plaintiff be awarded pre-judgment interest as allowed by law;
 6   5. That Plaintiff be awarded costs of litigation; and
 7   6. That Plaintiff be awarded such further legal and equitable relief as the Court deems proper.
 8
 9                                 DEMAND FOR TRIAL BY JURY
10   Plaintiff hereby demands a trial by jury in this action pursuant to Federal Rule of Civil Procedure
11   38 and the Seventh Amendment of the Constitution.
12
13   Dated: April 5, 2016                         Respectfully submitted,
14
15
                                                  /s/    C. Yong Jeong
16                                                C. Yong Jeong, Esq.
                                                  Attorneys for Plaintiff, UNICOLORS, INC.
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